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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 07-cr-80-01/02-SM

Michael Monahan
Jeffrey Mealey



                                      ORDER



      Defendants assented-to motions to continue the trial (document nos. 21 and 22)

are granted. Trial has been rescheduled for the March 2008 trial period. Defendants

shall file a Waiver of Speedy Trial Rights not later than November 2, 2007. On the filing

of such waivers, their continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendants in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendants the reasonable time necessary for effective preparation taking into account
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the exercise of due diligence under the circumstances.

      Final Pretrial Conference: February 20, 2008 at 4:30 PM

      Jury Selection:            March 4, 2008 at 9:30 AM

      SO ORDERED.



October 25, 2007                       _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Robert Kinsella, Esq.
    Mark Sisti, Esq.
    William Christie, Esq.
    U. S. Probation
    U. S. Marshal




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